      Case 2:19-cv-00387 Document 35 Filed on 06/29/21 in TXSD Page 1 of 1
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                               June 29, 2021
                          UNITED STATES DISTRICT COURT
                                                                            Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

SANDRA A. FABELA,                          §
                                           §
         Plaintiff,                        §
VS.                                        §   CIVIL ACTION NO. 2:19-CV-387
                                           §
CORPUS CHRISTI INDEPENDENT                 §
SCHOOL DISTRICT, et al,                    §
                                           §
         Defendants.                       §

                                 RECUSAL ORDER

       A discovery matter has been referred to the undersigned U.S. Magistrate Judge. I

stand recused in this case.


       ORDERED this 29th day of June, 2021.


                                           ___________________________________
                                                        Jason B. Libby
                                                 United States Magistrate Judge




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